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       2                                                      FMTieNOV 2 1443unc«r
       3

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       6

       7

       8                          IN THE UNITED STATES DISTRICT COURT
                                           DISTRICT OF OREGON
       9                                   PORTLAND DIVISION                  %



      10
                Lawrence Beaumont
      11
                      Plaintiff                          )
                                                          )     CV10-1355
                                                                   Civil Case No:
                                                                                             PK
      12
                      v.
      13

      14
               Government of the Cityof Edgewood         ]               COMPLAINT
                       Edgewood Council Members:         ]
      15              JeffHogan-Mayor                    ]             VIOLATION OF
                      Mike Kelly, Deputy Mayor           )             coNSTrrunoNAL
      16              Paul Crowley, Council Member       )             RIGHTS
                      Daryl Eidinger, Council Member
      17
                      Donna O'Ravez, Council Member
      18              Dave Olson, Council Member         j
                     Steve Cope, Council Member          )             Jury Trail Demanded
      19             Mark Bauer,City Manager             )
               Ed Knutson(personalaction)                )
      20

      21              Defendants                         )

      22

      23       COME NOW the Plaintiff above named for a cause of action against the
      24
               Defendants alleged as follows;
      25

      26
               COMPLAINT                                                      Page I
      27

      28
               # -}b&bb
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 1                                        I.   PARTIES

 2
       1.1    PlaintiffBeaumont, is apart time homeless resident of Multnomah
 3
              County, Oregon State, with an address of 2870 NEHogan Drive, 291
 4
             Gresham, OR 97030
 5

 6    1.2    Defendant, City ofEdgewood, is anincorporated city within Pierce

 7           County, Washington State. City Hall address: 2224 104* Avenue East,
 8
             Edgewood, WA. 98372,Telephone: 253.952.3299, Fax: 253.952.3537
 9
      1.4    Defendants Hogan, Kelly, Crowley, Eidinger, O'Ravez, Olson, and Cope
10
             are elected officials governing the Cityof Edgewood.
11
      1.5    Defendant Bauer is a salaried employee of thecity of Edgewood
12

13           responsible for the day to day operations ofthe city and servingin the

14           capacityas City Manager.
15    1.6    Ed Knutsonis the Contracted Police Officerfrom the Pierce County
16
             Sheriff's Departmentserving as the City ofEdgewoodPolice Chief.
17
             Defendant Knutson engaged in illegal conduct under the color of legal
18
             authority with or without the consent ofhis employing agency and which
19

20           has resulted in the denial of the Plaintiffs Civil Rights.

21    1.7    Otherpartiesmay be later added as Discovery uncovers their role
22
             within these allegations.
23

24

25

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27   COMPLAINT                                                            Page 2

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 1                                   H. JURISDICTION
 2
      2.1     The subject matter of thiscomplaint involves conduct under thecolor of
 3
      legal authority which" occurred while the Plaintiffwas performing temporary
 4
      volunteer hospice services within the City ofEdgewood, Pierce County,
 5
 0    Washington State and during which time tihe Defendants singularly or collectively
 7    deprived the Plaintiffofhis civil rights and/or failed to take actions toprevent the
 8    violation ofthe Plaintiffs Civil Rights as granted under the United States
 9
      Constitution. Jurisdiction is vested within mis Court byvirtue of violations of the
10
      United States Constitution (28 USC §1331), theparties being ofdifferent states

      (28 USC §1332), andthe damage amounts sought from each Defendant which is

13    likely to far exceed therequirement as set forth in 28USC §1332

14

15
                   ffl. GENERAL OVERVIEW OF THE COMPLAINT
16
     3.1     Plaintiffis a devoutly religious and openlygay man who was a temporary
17
     member of the household located at 5007 MontaVistaDrive-East, Edgewood,
18
-g   WA. 98372. Plaintiffwas and continues to provide hospice care to alongtime
20   friend of 31 years during his final months of life. Plaintiffhimselfis also

21   terminally ill and partially paralyzed from damages left from a massive stroke
99
**   which occurred in 2009
23

24

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27   COMPLAINT                                                            Page 3

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 1    3.2     Plaintiffheard about a program which provided services to thehomeless
 2
      by housing them inunused space within private homes and which was seeking
 3
      additional volunteers forthearea where the hospice care was being provided.
 4
      Plaintiffdecided to participate since the very large home on Monta Vista Drive-
 5

 6    East, inEdgewood, WA was only occupied by one person at the time of inquiry.

 7    3.3    Shortly after accepting new residents under the Housing the Homeless

 8    Program, ChiefEd Knutson of the Edgewood Police Department arrived at tihe
 9
      door with numerous other police officers as a show offorce and spo*ke with the
10
      Plaintiffinforming him that a resident, 23 year old John Deshiro was a registered
11
     level three sex offender and that he wanted the Plaintiffto remove him from the
12

13   property. The Plaintiff inquired as to if Deshiro was in full compliance with the

14   law or ifhe was wanted for anycriminal violations. ChiefKnutson responded that
15   he was not wanted for any violation and was in full compliance with tihe reporting
16
     requirements but that his presence would cause trouble becausethe Mayorlives
17
     just lives doors awayand the Mayorwants him out of Edgewood. The Plaintiff
18
     informed him that he would not do that but would review tihecircumstances oftihe
19

20   situation. Plaintiffalso informed the Chiefthat he hasa moral obligation to

21   providefood and shelterto his brothersin need as his religion has taught him. The
22   Chiefthen asked what the religious affiliation was and the Plaintiffresponded, the
23
     Wolf Creek Sanctuary. At that point, Chief Knutson became agitated and stated a
24
     derogatorycomment about the Plaintiffs professed religious affiliation and
25
     departed.   -
26

27   COMPLAINT                                                           Page 4

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     1     3.4    Shortly thereafter, the Police under the direction ofChiefKnutson, began
     2
           acampaign ofharassment against the Plaintiffunder the color oflegal authority.
     3
           This unlawful conduct included;
     4
           3.5    Defendant Knutson conducting or ordering ofextensive surveillance ofthe
     0    property that the Plaintiffwas residing at, then Mowing departing vehicles
     7    pulling them over claiming that a traffic infraction had occurred. The Chief
 8        questioned the driver and would agree to allow them to depart without an
 9
          infraction ifthey provided information regarding the Plaintiff      %
10
          3.6    Following the Plaintiffthroughout the city as he transported the homeless
j2        to alocal church for food services and to medical and social service appointments.
13        3-7    Staking out and ordering subordinate officers to stake out theentrances to

14        tihe church where food services were provided including both entrances a block
          apart It was later uncovered that the Chief was a member ofthe Board of
16
          Directors for the church and a member ofa sponsored Boy Scout organization.
17
         3.8     Stopping the Plaintiffwithout probable cause and issued a traffic
18
-g       infraction for not having alicense even when the presented license was valid from
20       the Plaintiffs home state. A Washington Courtlaterdismissed the infraction after

21       substantial evidence ofOregon residency was presented.
22
         3.9     During the above stop, the Chiefmade mention that the Plaintiffs religion
23
         was justa bunch of dancing fags and that perhaps the next time thePlaintiff
24
         would cooperate with him (referring to a pastpolice contact at thehome in which

26
27       COMPLAINT                                                            Page 5

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     1     the Plaintiffinvoked his right to remain silent). Plaintiffs religion is practiced
     2
           mainly by openly gay individuals and the Religion ofthe Chief, Lutheran, is
     3
           known for their denouncement ofhomosexuality. The Chiefs Boy Scout
 4
          affiliation is also known to denounce homosexuality. Before departing, itis
 5
 g        believed that the Chiefmumbled that maybe next time I'll get you to the jail
 7        where you could get your ass wiped into cooperation.
 8        3.10 Issuance ofan infraction claiming that the Plamtiffwas running aBed and
 g
          Breakfast by housing the homeless even though itisagroup tenancy situation as
10
          permitted under Washington State Law Title 59 and which Edgewood does not
10        require a license to do.
13        3.11   Contacted the County Health Department officials and attempted touse
14        his legal authority topersuade them todeclare that the septic system was

          malfunctioning even though he hasno known educational background to declare
16
          such. Since thatcontact, theCounty Health Department didjust thateven though
17
          swab tests proved to be negative forsewage. Plaintiffandall other residents were
18
-g       given 28 days to vacate the property under threat ofarrest.
20       3.11    Contacting neighbors and disclosed personal information asking themif

21       they would perform surveillance onthe Monta Vista Home.
22
         3.12    Contacting residents of theMonta Vista Home andasking them if they
23
         would help him install a microphone inside the residence
24

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27       COMPLAINT                                                             Page 6

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 1    3.13    Defendant Knutson walking inside the Monta Vista home through open
 2
      doors without a warrant norfor legal reason even though hewas advised by letter
 3
      to stop, essentially committing the unlawful act oftrespass. Thisconduct only
 4
      stopped after theowner, Baker, filed a civil lawsuit which is still pending in the
 5

 6    Washington Superior Court

 7    3.14    Defendant Knutson contacting food bank staffand soliciting information
 8    about household users while disclosing personal information about thePlaintiff
 9
      and the homeowners terminal medical condition.                       %
10
      3.15   Defendant Knutson contacting past and present house residents and stating
11
      suggestive ideas to them byintimidation in hopes of prosecuting thePlaintiff
12

13    under tihe color of legal authority for suggestive crimes that thePlaintiffallegedly

14    may have committed.

15    3.16   Criminally arresting the Plaintiffand the homeowner (Baker) under
16
     charges ofoperating a Hostel even though the city has no such definitionofsuch
17
     and all residents resideunderstate laws for tenancy.
18
     3.17    Duringa surveillance of the Monta Vista addressby Defendant Knutson,
19

20   therecent Edgewood Craigslist Murder tookplace just a short distance away from

21   the Plaintiffs location. Because a murder Suspect has indicated that he had first
22
     checked the area for police before deciding to commit the crime, and the Plaintiff
23
     was aware that all city patrol cars were located on or near Monta Vista Drive
24
     during the event, Chief Knutson has threatened the Plaintiff to not make any
25

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27   COMPLAINT                                                            Page 7

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       1    statements as such in any potential future lawsuit by the widow ofthe victim.
       2
            3.18 City Manager Mark Bauer demanding that an assortment ofinspectors
       3
            from numerous agencies be permitted entry into the Monta Vista home without
       4
            warrant and which eventually endedwith the arrestofthe Plaintiffand the

       g    property owner (Baker).

       7    3.19 Defendant Knutson disregard for spousal privileges granted by the State of
   *»       Washington even though the Plaintiffdemanded such inwriting.
   9
            3.20   Defendant Knutson attempting to have the PlaintiffarrestedTfor indecent
10
            exposure even though the house is occupied byall adult males who freely walk

._          about asexpected intheir own home. Conviction ofthis charge could had resulted

13          ina requirement for the Plaintiffto register asa sex offender and would void the

14         Plaintiff's professional license.
•f r

           3.21    Defendant Knutson attempting to encourage consensual sexpartners to file
16             . .
           a criminal complaint against the Plaintiff.
17
           3.22    Arresting the Plaintiffand house ownerBakerfor operating a business
18
jq         without alicense even though housing individuals is under the tenancy laws ofthe
20         stateand for whichEdgewood doesnot require a license. The charge is a Gross

21         misdemeanor and is punishable by imprisonment (all defendants)
22

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27         COMPLAINT                                                          Page 8

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 1        3.23 Defendant Knutson providing false and misleading information on an
     2
          Affidavit ofProbable Cause used to obtain awarrant in Pierce County resulting in
 3
          thearrest of the Plaintiff. Defendant Knutson knewor should haveknown thatthe
 4
          information was false, misleading, halftruths, hearsay, based upon suggestive
 g        ideas planted within the witness on the affidavit, and had little factual basis.
 7        Defendant Knutson knewor should have knownthat this information would be

 o        used to issue an arrest warrant against the Plaintiff.
 9
          3.24   Issuing aninfraction claiming that the residence violates single family
10
          zoning laws byhousing the homeless even though the Cities owndefinition of

          "Family" is in violation of the U.S. Supreme Courtrulings made on at leasttwo

13       occasions. Defendants should have known thatsuch rulings existed before issuing

14       die infraction (all Defendants).

         3.25    Failing to add onto a policereportthat a prior resident evicted for druguse
16
         andwho made a false claim thatthe Plaintiffhadstolen money allegedly stored by
17
         the Plaintiffalso attempted to extort money from another resident earlier in the

-«       day by text phone messages which were retained as evidence. The resident whom

20       the extortion was committedupon, James Leach, stated that he barely knew the

21       new resident ofone day when he started tobehave oddly asthough hewas on
99
         drugs and in a threatening manner towards others
23

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27       COMPLAINT                                                              Page 9

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     1     3.26 City Manager Bauer failing to investigate like housing situations in
     2
           Edgewood when they were outside ofthe area where the Mayor resided and the
     3
           location of the Plaintiff residence.
     4

 5
           3.27 City Counsel failing to intervene in the illegal conduct even though they
 g         were aware that they had the power to stop the civil rights violations.
 7         3.28   Defendant Knutson threatening the Plaintiffbecause Baker filed a lawsuit

 8        naming the City and his police agency by stating that he was working tojail the
 9
          Plaintiff because youcan't file your lawsuit from there.                %
10
          3.29 Claiming that friends ofthe homeowner Baker who were visiting to say

12        me"' ^^ goodbyes to the dying man were household residents and ordered their
13        removal from theproperty. When the guests didnotleave, retaliatory acts were

14        committed against the Plaintiff(all Defendants).

          3.30    Defendant Knutson threatening thePlaintiff byretaliatory acts under the
16
          color of legal authority after he invoked his right to remain silent.
17
          3.31    Defendant Knutson committing retaliatory acts under the color of legal

-g        authority after the Plaintiffbegan to host coffee chat groups for the homeless to
20        discuss civil rights and how they candemand and protect them,

21        3.32 Defendant Knutson committing retaliatory acts under the color oflegal
99
          authority afterthe Plaintiff appeared in an interview on a localFOX affiliate TV
23
         newscast regarding the issues contained within.
24

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27       COMPLAINT                                                                Page 10

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 1     IV     CAUSES OF ACTION AGAINST THE DEFENDANTS
 2
       4.1    Reallage the facts asstated within. Violation ofthe 1st Amendment, 1st
 3
       clause, ofthe Constitution ofthe United States regarding religion. The
 4
      Defendants, either by act orfailure toact toprevent the violation even though
 5

 6    empowered to do so, did violate the civil rightsofthe Plaintiff. Plaintiffnow

 7    suffers from fear, anxiety, and psychological problems from theillegal acts and
 8    seeks compensation.
 9
      4.2     Reallage the facts as statedwithin. Violation ofthe 1st Amendment, 2nd
10
      clause, ofthe Constitution ofthe United States. The Defendants, either byactor
11
      failure to actto prevent theviolation even though empowered to doso,didviolate
12

13    the civilrights of the Plaintiff. Plaintiffnow suffers fear, anxiety, and

14    psychological problems from the illegal actsand seeks compensation.
15    4.3    Reallage the facts as stated within. Violation of the 4th Amendment, 1*
16
      clause,ofthe Constitution ofthe United States. The Defendants, either by act or
17
      failure to act to preventthe violationeven though empowered to do so, did violate
18
      the civil rightsofthe Plaintiff. Plaintiffnow suffersfrom fear, anxiety, and
19

20    psychological problems from the illegal acts and seeks compensation.

21    4.4    Reallage the facts as stated within. Violation of die 5th Amendment, 1*
22
      clause, ofthe Constitution of the United States. The Defendants, eitherby act or
23
      failure to act to preventthe violation even though empowered to do so, did violate
24

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27    COMPLAINT                                                             Page 11

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 1    5.6    That the Court award interest as determined bytheCourt for allunpaid
 2    judgmentsuntil fullypaid.
 3
      5.7    Upon the conclusion ofthe trial, the Plaintiffrequeststhat the Court
 4
      consider criminalcharges against each Defendantunder Title 18, §242 and take
 5

 6
      into account anymental and/or bodily injuries in which tihe Plaintiffmay have

 7    suffered as a resultof the Defendants conduct under the colorof authority oflaw.
 8    VI.    JURY DEMAND

 9
      6.1    ThePlaintiffrequests that a jury hearthe facts ofthis complaint
10
                           DATED this * day of tipr/^Jfr .2010.
11
      Lawrence Beaumont
12
      2870 NE Hogan Drive, 291
13    Gresham, OR. 97030
            Note: Plaintiffis part-time homeless but can receive mail at the above
14          address. No personal phone number available.
15
                                                           iont, Plaintiff Pro-Se
16

17

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26
     COMPLAINT                                                          Page 13
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